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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
NUNEZ, et al.,                                                         :
                                                                       :
                                    Plaintiffs,                        :          11-CV-5845 (LTS)
                                                                       :
                  -v-                                                  :
                                                                       :
CITY OF NEW YORK, et al.,                                              :
                                                                       :
                                    Defendants.                        X

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                                                     ORDER

                  The Court has received and reviewed carefully the parties’ joint status update on

the parties’ meetings with respect to the intake-related provisions of the Court’s Second

Remedial Order and Action Plan. (Docket entry no. 493.) Plaintiffs’ request for the Court to set

a briefing schedule for Plaintiffs’ motion for contempt, relating to paragraph 1(i)(c) of the

Second Remedial Order (docket entry no. 398) and section E(3)(a) of the Action Plan (docket

entry no. 465) is granted on the following schedule and subject to the following conditions, and

is denied insofar as it seeks authorization to initiate motion practice on December 15, 2022:

         •   Defendants shall file a status update on the docket by January 10, 2023, outlining the
             steps being taken in order to comply with the intake-related provisions of the Court’s
             Second Remedial Order and Action Plan.

         •   The parties shall meet and confer promptly following the January 10, 2023
             submission from Defendants. The meet and confer shall take place no later than
             January 13, 2023.

         •   Plaintiffs may file their motion for contempt and accompanying memorandum of law
             in support on January 17, 2023.

         •   Defendants shall file their opposition memorandum to Plaintiffs’ motion for contempt
             by January 31, 2023.


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      •   The Monitoring Team shall file a brief report on the status of Defendants’ compliance
          with the intake provisions of the Court’s orders by February 3, 2023.

      •   Plaintiffs shall file their reply memorandum by February 7, 2023.


 SO ORDERED.


Dated: December 13, 2022                                  __/s/ Laura Taylor Swain____
       New York New York                                  LAURA TAYLOR SWAIN
                                                          Chief United States District Judge




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